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                    11 NOURYON SURFACE CHEMISTRY,
                       LLC, THE CARLYLE GROUP,
                    12 CHARLIE SHAVER, SUZANNE M.
                       CARROLL and BAHAR AZIMIPOUR
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                    14
                                                         UNITED STATES DISTRICT COURT
                    15
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                    16
                    17
                         DENNIS CRIMMINS,                               Case No. 3:22-cv-00058-BAS-BLM
                    18
                                            Plaintiff,                  JOINT STIPULATION TO
                    19                                                  EXTEND DEFENDANTS’
                                  vs.                                   RESPONSIVE PLEADING
                    20                                                  DEADLINE
                       NOURYON SURFACE CHEMISTRY,
                    21 LLC, a California Limited Liability
                       Company; THE CARLYLE GROUP,
                    22 INC., a California Corporation;                  Trial Date:         None Set
                       CHARLIE SHAVER; an Individual; ‘
                    23 SUZANNE M. CARROLL, an
                       Individual; BAHAR AZIMIPOUR, an
                    24 Individual;’and DOES 1 through 25,
                       Inclusive,
                    25
                                    Defendant.
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B ISGAARD                4871-6020-5071.2                                            Case No. 3:22-cv-00058-BAS-BLM
& SMITHLLP
ATTORNEYS AT LAW                   JOINT STIPULATION TO EXTEND DEFENDANTS’ RESPONSIVE PLEADING DEADLINE
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                     1                                        STIPULATION
                     2            Plaintiff DENNIS CRIMMINS (“Plaintiff”) and Defendants NOURYON
                     3 SURFACE CHEMISTRY, LLC (“Nouryon”), THE CARLYLE GROUP, INC.,
                     4 CHARLIE SHAVER, SUZANNE M. CARROLL, and BAHAR AZIMIPOUR
                     5 (collectively “Defendants” all parties collectively “Parties”), through their
                     6 respective counsel of record, and based upon good cause and the following facts,
                     7 hereby agree and stipulate as follows:
                     8            WHEREAS, Defendants filed a Notice of Removal on January 14, 2022;
                     9            WHEREAS, Defendants contemplated filing a Motion to Dismiss as their
                    10 responsive pleading and did so file on January 28, 2022;
                    11            WHEREAS, Counsel for Plaintiff and Defendants thereafter met and
                    12 conferred and agreed that Plaintiff would dismiss The Carlyle Group, Inc., Charlie
                    13 Shaver, Suzanne M. Carroll, and Bahar Azimipour with prejudice and that
                    14 Defendants would withdraw their Motion to Dismiss;
                    15            WHEREAS, Plaintiff filed his voluntary dismissals with prejudice on
                    16 February 8, 2022 and Defendants filed their Notice of Withdrawal of Motion to
                    17 Dismiss on February 8, 2022;
                    18            WHEREAS, certain of Defendant Nouryon’s witnesses are currently out of
                    19 the country, making it difficult for Defendant Nouryon to respond to each allegation
                    20 in Plaintiff’s Complaint as required for the Answer, and thus require additional time
                    21 to complete the Answer;
                    22            IT IS HEREBY STIPULATED by the Parties that Defendant Nouryon’s
                    23 deadline to file its Answer shall be continued from February 18, 2022 to March 4,
                    24 2022.
                    25                                           Respectfully submitted,
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B ISGAARD
& SMITHLLP
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                     1 DATED: February 18, 2022                 CANTOR LAW
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                     3
                                                                By:         /s/ Zachary Cantor
                     4
                                                                      ZACHARY M. CANTOR
                     5                                                Attorneys for Plaintiff, DENNIS
                     6                                                CRIMMINS
                     7
                         DATED: February 18, 2022               LEWIS BRISBOIS BISGAARD & SMITH LLP
                     8
                     9
                    10                                          By:         /s/ Ashleigh Kasper
                    11                                                ASHLEIGH R. KASPER
                                                                      Attorneys for Defendants, NOURYON
                    12
                                                                      SURFACE CHEMISTRY, LLC, THE
                    13                                                CARLYLE GROUP, CHARLIE
                                                                      SHAVER, SUZANNE M. CARROLL and
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                                                                      BAHAR AZIMIPOUR
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                     1                               CERTIFICATE OF SERVICE
                     2            I hereby certify that, on February 18, 2022, I electronically filed the
                     3 foregoing JOINT STIPULATION TO EXTEND DEFENDANTS’ RESPONSIVE
                     4 PLEADING DEADLINE with the Clerk of the Court using the CM/ECF system,
                     5 which will send notification of such filing via electronic mail to all counsel of
                     6 record.
                     7
                     8 Dated: February 18, 2022                                 /s/ Ashleigh Kasper
                     9                                                          Ashleigh R. Kasper

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& SMITHLLP
                         4871-6020-5071.2                            4               Case No. 3:22-cv-00058-BAS-BLM
ATTORNEYS AT LAW                   JOINT STIPULATION TO EXTEND DEFENDANTS’ RESPONSIVE PLEADING DEADLINE
